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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
In re:
                                                                         Case No. 16-25954- LMI
                                                                         Chapter 7
JORGE HANE,

               Debtor.               /

COLTEFINANCIERA, S.A. and                                                Adv. Pro. No. 17-01234-LMI
BLUE BANK INTERNATIONAL, N.V.,

               Plaintiff,
v.

JORGE HANE,

               Defendant.                /

                               DEFENDANT’S OPENING STATEMENT

         I.      Introduction

         The Plaintiffs have filed this action seeking denial of the Debtor Jorge Hane’s discharge

under Sections 727(a)(3) and (a)(4) of the Bankruptcy Code. The Plaintiffs carry the burden of

satisfying the elements of the respective Code sections and of overcoming the general presumption

favoring the discharge of debts and the availability of fresh starts for bankruptcy debtors. As will

be demonstrated, the Plaintiffs will not be able to overcome their burden.

         II.     §727(a)(3)

         11 U.S.C. §727(a)(3) provides:

                 (a)        The court shall grant the debtor a discharge, unless...

                 (3)     the debtor has concealed, destroyed, mutilated,
                 falsified, or failed to keep or preserve any recorded
                 information, including books, documents, records, and
                 papers, from which the debtor’s financial condition or
                 business transactions might be ascertained, unless such act
                 or failure to act was justified under all of the circumstances
                 of the case.
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Under the case law, a plaintiff must prove “(1) that the debtor failed to maintain and preserve

adequate records, and (2) that such failure makes it impossible to ascertain the debtor's financial

condition and material business transactions." In re Harmon, 324 B.R. 383, 388 (Bankr. M.D. Fla.

2005). Additionally, the 11th Circuit Court of Appeals has determined that the failure to preserve

and maintain books and records of a corporation which is a distinct entity from the individual

debtor cannot support denial of discharge under §727(a)(3). In re Espino, 48 B.R. 232, 235 (Bankr.

S.D. Fla. 1984) aff’d In re Espino, 806 F.2d 1001, 1002 (11th Cir. 1986).

       The Plaintiffs entire §727(a)(3) case rests on the Debtor’s alleged failure to adequately

respond to a Rule 2004 examination request. Specifically, the Plaintiffs allege the Debtor did not

produce sufficient books and records of entities which he held a direct or indirect interest in.

However, the evidence will show that:

       1) The Rule 2004 request was ambiguous as to what documents were being requested;

       2) Prior to filing this adversary proceeding the Plaintiffs, who had cross-noticed the 2004
          request, never advised the Debtor or his counsel that they believed the Debtor’s
          production to be inadequate;

       3) The Plaintiffs never filed a motion to compel in response to the Debtor’s production;

       4) The Debtor produced all documents which he was asked to produce;

       5) The Plaintiffs subsequently obtained all the corporate financial records they were
          seeking through a subpoena to the entities’ accountant;

       6) All of the relevant business entities were managed and operated as distinct separate
          entities; and

       7) The business entities at issue had stopped operating prior to the Petition Date. In fact,
          the evidence will show that largest of the entities had been liquidated in a Colombian
          bankruptcy case in early 2016.

In short, the evidence will demonstrate that the Debtor’s personal financial records were properly

maintained and made available to the Plaintiffs, the Debtor justifiably believed he had fully

responded to the Plaintiffs’ document requests, and that the Plaintiff is presently in possession of
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all of the corporate records necessary to ascertain the Debtor’s financial condition. Accordingly,

the Plaintiff will not be able to satisfy either of the two elements of §727(a)(3).

       III.    §727(a)(4)

       11 U.S.C. §727(a)(4)(A) provides:

               (a)     The court shall grant the debtor a discharge, unless...

               (4) the debtor knowingly and fraudulently, in or in
               connection with the case—

               (A) made a false oath or account;

To sustain an objection under §727(a)(4)(A), a plaintiff must prove “(1). the debtor made a

statement under oath; (2) such statement was false; (3). the debtor knew the statement was false;

(4). the debtor made the statement with fraudulent intent; and (5) the statement related materially

to the bankruptcy case.”

       The Plaintiffs will point to the Debtor’s failure to schedule three business entities, two of

which were shell companies that were registered with the Florida Department of Corporations but

never operated or held assets and a third which had been defunct for years. However, the evidence

will demonstrate that any errors in the Debtor’s schedules were entirely unintentional, lacked

fraudulent intent and were immaterial to this bankruptcy case. There is no discernable reason that

the Debtor would risk his bankruptcy discharge to hide companies that were worthless and

inactive.

       Finally, the Debtor’s Statement of Financial Affairs discloses that the Debtor transferred a

patent valued at $0.00 to his wife in July 2016. The Plaintiffs’ will claim that the $0.00 valuation

was a false oath which meets the requirements of §727(A)(4)(A). The evidence will show

otherwise. The patent was for a shoe insole product which the Debtor had invented. The Debtor

spent years trying to sell the product without success. After the Debtor’s business interests in

Colombia collapsed in early 2016, the Debtor’s wife decided she needed to support her family. As
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a user of the product, she saw potential in the shoe insole product and decided to start a business.

As of the Debtor’s petition date, the company had not yet begun to operate and there was no

evidence there was any market for the product. The evidence will show that the Debtor justifiability

believed the patent was worthless. Moreover, the Plaintiffs will present no expert testimony

offering a competing value. The Debtor’s and his wife’s opinions as to the value of the patent will

thus be the only admissible evidence on the issue.

       IV.     Conclusion

       For the reasons set forth above, the Debtor asks the Court to enter judgment denying the

relief sought in the Plaintiff’s Complaint and to grant the Debtor the fresh start he filed bankruptcy

to achieve.

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                                       Certificate of Service

       I hereby certify that a true and correct copy of the foregoing was served via CM/ECF to

Brian J. Recor, Esq. on June 21, 2019.


                                               /s/ Michael S. Hoffman
                                               Michael S. Hoffman
